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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                 :
Ronald Decker,                                   :
                                                   Civil Action No.: 3:13-cv-00070
                                                 :
                       Plaintiff,                :
       v.                                        :
                                                 :
Verizon Wireless,                                :
                                                 :
                       Defendant.                :
                                                 :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated April 16, 2013

                                                  Respectfully submitted,

                                                  PLAINTIFF, Ronald Decker

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 16, 2013, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the District of Connecticut
Electronic Document Filing System (ECF), which sent a notice of such filing to the following:

Patricia R. Rich
DUANE MORRIS, LLP
100 High Street, Suite 2400
Boston, MA 02110-1724

                                             By_/s/ Sergei Lemberg________
                                                    Sergei Lemberg
